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CIVIL CASE INFORMATION STATEMENT Fi
CIVIL CASES iy & OD
Le 5
IN THE CIRCUIT COURT OF KANAWHA COUNTY, WEST VIERA / Yc
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cafe
| CASE STYLE: “ap
Plaintiff(s)
JAYSON HUTCHINSON,
vs. caseno: 1 ¥:C- 1593
HONORABLE: Blanm
Days to
Defendant(s) Answer Type of Service
UNITED DAIRY, INC. 30 days WV Secretary of State
George Wood
300 North Fifth Street
Post Office Box 280
Martins Ferry, OH 43935
Original and 6 copies of Complaint furnished herewith.
Rept 1 a S200 $135_
Gene __No Sum. Iss
et. to Atty. __ $20¢m X __

__ Mailed CWRM _ $5 clk X__
__Mailed to sos w/ck#
__ Sent to wick# __ $15 mdf X

 
 

Case 2-19-cv-00060 Document 1-1 Filed 01/24/19 Page 2 of 29 PagelD #: 9

 

DEFENDANT: UNITED DAIRY, INC.

PLAINTIFF: JAYSON HUTCHINSON CASE NUMBER:

 

 

 

 

 

 

 

 

 

 

II. TYPE OF CASE:
TORTS OTHER CIVIL
OC Asbestos O Adoption OC Appeal from Magistrate Court
0 Professional Malpractice C1 Contract © Petition for Modification of
Magistrate Sentence
m™ Personal Injury O Real Property C1 Miscellaneous Civil
O Product Liability O Mental Health Ol Other
O Other Tort O Appeal of Administrative (1 Fraud or Conversion
Agency

 

 

 

 

JURY DEMAND: @ Yes O No
CASE WILL BE READY FOR TRIAL BY (MONTH/YEAR): 02/20

 

 

DO YOU OR ANY OF YOUR CLIENTS OR WITNESSES IN THIS CASE REQUIRE SPECIAL
ACCOMMODATIONS DUE TO A DISABILITY OR AGE? = YES 0 NO

iF YES, PLEASE SPECIFY:

| Wheelchair accessible hearing room and other facilities

0 Interpreter or other auxiliary aid for the hearing impaired

CO Reader or other auxiliary aid for the visually impaired

C Spokesperson or other auxiliary aid for the speech impaired

m@ Other: Unknown at this time

 

Firm:
Address: P.O. Box 3842 7 Cross-Complainant

ROBERT D. CLINE, JR. (W. Va. State Bar No. 755)
ROBERT A CAMPBELL (W. Va. State Bar. No. 6052)

R. CHAD DUFFIELD (W. Va. State Bar No. 9583) Representing:
FARMER, CLINE & CAMPBELL, PLLC B@ Plaintiff Defendant

Charleston, WV_25338 OCross-Defendant

Telephone: (304) 346-5990 Cj Pro Se

Dated:

December 21, 2018

Signature:

 

 
 

Case 2-19-cv-00060 Document 1-1 Filed 01/24/19 Page 3 of 29 PagelD #: 10

IN THE CIRCUIT COURT OF KANAWHA COUNTY, WEST VIRGINY ,,
JAYSON HUTCHINSON, C2

Plaintiff, Lie ea. * 0
V. Civil Action No.: \S ( -\' Y ): » tap,

Honorable Aloomn

UNITED DAIRY, INC.

Defendant.

COMPLAINT

The Plaintiff, Jayson Hutchinson, by and through his counsel, Farmer, Cline &

Campbell, PLLC, hereby states the following for his Complaint.

Parties
1. Jayson Hutchinson (the "Plaintiff or “Mr. Hutchinson’), is a resident of
Kanawha County, West Virginia.
2. Defendant United Dairy, Inc. is, upon information and belief, an Ohio

corporation that has a principal office in Martins Ferry, Ohio and does business in, among
other places, Kanawha County, West Virginia.

3. At all times relevant to the allegations asserted in the Complaint, Mr.
Hutchinson was working as an employee of United Dairy at it's Kanawha County, West
Virginia location.

Jurisdiction and Venue

 

4. This Court has jurisdiction over United Dairy and is a proper venue for this

action as United Dairy conducts business in Kanawha County, West Virginia and the
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events giving rise to this cause of action occurred at United Dairy’s facility located in

Kanawha County, West Virginia.
Facts

 

5. Mr. Hutchinson incorporates by reference all preceding allegations contained
within this Complaint.

6. On January 26, 2017 Mr. Hutchinson was working at United Dairy’s facility
located in Charleston, Kanawha County, West Virginia.

i. Mr. Hutchinson was working as a “milk catcher” in the cooler area where
stacks of milk crates move along a floor conveyor system.

8. As one of the stacks of milk cartons came around a curve in the conveyor
system, it became jammed such that other stacks of milk crates began to back up behind
the jammed stack.

9. It was not unusual for a stack of crates to become jammed.

40. Mr. Hutchinson had been trained to attempt to release such a jam by jiggling
the stack back and forth without de-energizing the conveyor system and interrupting
production.

41. As Mr. Hutchinson began to jiggle the stack back and forth, a chain from the
floor conveyor jumped out of the floor track and pinned Mr. Hutchinson's leg against a
metal plate that had been affixed to the inside part of the curved area of the floor conveyor.

12. This was not the first time that the chain had jumped out of the track.

43. Mr. Hutchinson’s leg remained pinned between the metal chain and plate
even after a coworker was able to hear his cries for help and reach the emergency stop

button.
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- 060 Document 1-1 Filed 01/24/19 Page 5 of 29 PagelD #: 12

14. Eventually, workers were able to free Mr. Hutchinson from the chain and he
was taken to the hospital.
45. Mr. Hutchinson suffered severe injuries such that the lower part of his left leg
had to be amputated.
NEGLIGENCE / DELIBERATE INTENT
46. In accordance with applicable safety laws, regulations, rules, and standards,
United Dairy owed a duty to its employees, including Mr. Hutchinson, to:

(a) provide a safe workplace by maintaining the work areas and
equipment in a safe condition;

(b) maintain appropriate safety procedures regarding working on and
around equipment and systems containing potentially hazardous
energy that can be released;

(c) provide training and retraining to employees on the required safety
procedures for working with equipment and systems containing
potentially hazardous energy,

(d) monitor compliance with safety procedures;

17. United Dairy negligently, willfully, wantonly, and/or intentionally breached the
duties set forth above.

18. United Dairy’s breach of their duties was a proximate cause of the incident
described above and Mr. Hutchinson’s injuries and damages.

49.  Tothe extent that United Dairy is deemed to be entitled to the protections of
West Virginia Code §§ 23-2-6 and 23-2-6a, United Dairy is liable to Mr. Hutchinson

pursuant to West Virginia Code § 23-4-2 in that United Dairy:
—_____—__Gasse-2:19-cv-00060 Document 1-1 Filed 01/24/19 Page 6 of 29 PagelD #: 13

(a)

(b)

permitted unsafe and hazardous working conditions to exist in the
workplace which presented a high degree of risk and a strong
probability of serious injury or death;

violated federal safety regulations and commonly accepted and well-
known safety standards within United Dairy’s industry or business that
were specifically applicable to the particular work and working
conditions involved in Mr, Hutchinson's incident and intended to
address the specific hazards presented the unsafe working conditions
identified in this complaint; and

had actual knowledge of the existence of specific unsafe working
conditions and of the high degree of risk and the strong probability of
serious injury or death presented by specific unsafe working
conditions prior to the incident that severely injured Mr. Hutchinson;
and

despite having actual knowledge of the matters set forth in
subparagraphs a through c above, United Dairy nevertheless
intentionally exposed Mr. Hutchinson to the specific unsafe working

conditions.’

20. Asa direct and proximate result of being exposed to the unsafe working

conditions set forth above, Mr. Hutchinson suffered a “serious compensable injury” as

defined by W.Va. Code § 23-4-2(d)(v).

 

| As required under W.Va. Code § 23-4-2(d)(2)(C), a verified statement is attached as Exhibit A.

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; 0060 Document 1-1 Filed 01/24/19 Page 7 of 29 PagelD #: 14

21. More specifically, Occupational Safety and Health Standards found in 29

CFR 1910.147 required United Dairy to:

(a)

(c)
(d)

establish an energy control program by developing, documenting, and
utilizing procedures for the control of potentially hazardous energy,
establish an employee training program whereby employees are
trained on the recognition of hazardous energy sources and provided
with the knowledge and skills required for the safe operation and
usage of energy controls and of the company's energy control
program;

establish a retraining and certification program for employees; and
inspect energy control procedures at least annually to ensure that the

procedure and the requirements are being followed by employees;

22. Upon information and belief, United Dairy violated the safety regulations set

forth above, and other applicable safety standards, by:

(a)

(b)

(c)

failing to develop, document, utilize, and periodically inspect
procedures for working with equipment and systems containing
potentially hazardous energy;

failing to establish an employee training program and train and retain
employees on the procedures for the control of potentially hazardous
energy; and

failing to monitor compliance with procedures for the control of

potentially hazardous energy.
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23. These failures created unsafe working conditions that presented a high

degree of risk and a strong probability of serious injury or death.

24. As noted above, these unsafe conditions violated federal safety regulations

and commonly accepted and well-known safety standards within the industry.

25. United Dairy had actual knowledge of the existence of the specific unsafe

working conditions and the high degree of risk and strong probability of serious injury or

death presented by the unsafe working conditions by virtue of, among other things:

(a)

(b)

the fact that less than four months prior to Mr. Hutchinson’s incident,
United Dairy was cited by the Occupational Safety and Health
Administration for failing to have proper safety procedures or
protocols relating to the potentially hazardous energy when an
employee suffered a crushed hand when another employee was
performing maintenance on equipment at United Dairy’s facility in
Charleston; and

the fact that in the weeks and months leading up to Mr. Hutchinson's
incident, the chain part of the floor conveyor jumped out of the track
on multiple occasions and, upon information and belief, supervisory
employees were made aware of the situation and of a near miss

incident.

26. Despite having actual knowledge of the unsafe working conditions, United

Dairy intentionally exposed Mr. Hutchinson and other employees to the unsafe working

conditions.
—_______—__Case-2:19-cv-00060 Document 1-1 Filed 01/24/19 Page 9 of 29 PagelD #: 16

27. Asa direct and proximate result of United Dairy’s actions and/or inactions,

and the unsafe working conditions presented, Mr. Hutchinson suffered severe injuries to

his body for which he has and will continue to incur and/or experience in the future:

a.

b.

medical expenses;

lost wages;

pain and suffering;
disfigurement,

diminished capacity to enjoy life;
annoyance and inconvenience;
mental anguish; and

other consequences and damages associated with his injuries, as
may be specified as this action progresses.

WHEREFORE, Plaintiff, Jayson Hutchinson, requests that he be awarded

judgement against the Defendant for the following:

a.

b.

compensatory damages in an amount to be determined by a jury;
punitive damages to extent warranted by the facts and the law;
pre and post judgment interest as allowed by law;

attorneys’ fees, costs and expenses incurred in connection with this
action; and

such other and further relief as the Court deems just and appropriate
under the circumstances.

PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE
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: 060 Document 1-1 Filed 01/24/19 Page 10 of 29 PagelID #: 17

JAYSON HUTCHINSON,
Plaintiff,

By Counsel:

 
 

K bel

ROBERT D. CLINE, JR. (W.Val/State Bar No. 755)
ROBERT A. CAMPBELL (W.Va. State Bar No. 6052)
R. CHAD DUFFIELD (W.Va. State Bar No. 9583)
FARMER, CLINE & CAMPBELL PLLC

746 Myrtle Road (25314)

Post Office Box 3842

Charleston, WV 253338

(304) 346-5990
Case 2:19-cv-00060 Documenti1-1 Filed 01/24/19 Page 11 of 29 PagelD #: 18

VERIFIED STATEMENT OF JOHN G. GREEN Il, P.E.

1. | have been retained by attorney for the Plaintiff, Robert A. Campbell, a partner in the
firm of Farmer, Cline & Campbell, PLLC located in Charleston, WV.

2. | have prepared this verified statement to be served with the Plaintiff’s complaint.

3. | hold a Bachelor of Science degree in Mechanical Engineering from Lafayette College in
Easton, Pennsylvania (1979). | have over thirty-five (35) years of experience in the
design, installation, commissioning, operation, maintenance, repair and troubleshooting
of machinery and machine process systems, including all types of conveyors systems. |
am well versed in the Code of Federal Regulations (CFR) promulgated by the
Occupational Health and Safety Administration (OSHA) and the Mine Safety and Health
Administration (MSHA).

4. |amalicensed Professional! Engineer in 16 States, including West Virginia (21766). My
professional experience includes the application of the OSHA, MSHA and industry
consensus standards, such as American National Standards Institute (ANSI), American
Society of Mechanical Engineers (ASME) and American Petroleum Institute (API), to the
safeguarding of material handling systems. This experience includes hazard analysis,
risk assessment and the control or elimination of hazardous energy.

5, | amemployed as a Mechanical Engineer at Robson Forensic, Inc. and regularly perform
investigations, analyses and reconstruction of industrial accidents. | provide technical
reports and testimony toward the resolution of litigation involving industrial and
construction site workplace safety, product defects and mechanica! engineering issues.
| have no financial interest in the outcome of this matter. My CV is attached and
everything therein is true and correct.

6. All of my opinions are stated within a reasonable degree of engineering and professional
certainty and are subject to change should additional information become available.

7, OnJanuary 26, 2017 at 12:45 PM, the Plaintiff Jayson Hutchinson, an employee of
United Dairy located at 508 Roane Street, Charleston, WV, was attempting to unjam a
stack of six milk crates from the drag chain conveyor that was installed in the floor of
the cold room. Hutchinson was using a metal hook, approximately 34” long, to clear the
jammed'crates when the drag chain conveyor suddenly and unexpectedly became

EXHIBIT A
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dislodged from the track. Hutchinson’s ankle was caught between the dislodged drag
chain and a metal side plate on the track.

Hutchinson was injured when he was unnecessarily and unreasonably exposed to and
caught between the hazard created by the stored energy contained within the jammed
drag chain conveyor. The combination of hazard and exposure created an unreasonably
dangerous and unsafe working condition and was a cause of the injury to Hutchinson.

Employers, such as United Dairy, are required to protect their employees from the
unexpected release of stored energy while servicing and/or maintaining equipment.
This includes the exposure of employees to the release of hazardous energy during the
unjamming of equipment while in operation. Prior to an employee engaging in the
unjamming task, the equipment must be placed in an inoperable state with all
hazardous energy dissipated and isolated.

Employers, such as United Dairy, are required to develop written procedures for the
control of hazardous energy which include, but are not limited to, the intended use,
procedural steps required to isolate, dissipate and control the energy source and the
testing requirements necessary to verify that hazardous energy has been removed and
isolated. Employers are also required to conduct periodic audits, not less than once per
year (annually), to verify that the energy isolation procedures are being followed.
Additionally, employers are required to train employees in the application of these
energy isolation procedures. Retraining of employees shall be required when changes
to job assignments, equipment, process or the procedures occur.

The OSHA Code of Federal Regulations (CFR) Title 29 was created in 1970 to establish
and enforce workplace safety and health standards. Employers are required by these
regulations to ensure that the workplace is free of recognized hazards which could harm
their employees.

Employers, such as United Dairy, fall under OSHA Part 1910 — General Industry and are
required to protect employees from the unexpected release of stored energy as
outlined in 29 CFR, Subpart J, §1910.147 — The Control of Hazardous Energy
(Lockout/Tagout).

Section 1910.147(a)(2)(i) States: “This standard applies to the control of energy during
servicing and/or maintenance of machines and equipment.”
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; 0060 Document 1-1 Filed 01/24/19 Page 13 of 29 PagelD #: 20

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Section 1910.147(b) defines Servicing and/or Maintenance as “Workplace activities such
as constructing, installing, setting up, adjusting, inspecting, modifying, and maintaining
and/or servicing machines or equipment. These activities include lubrication, cleaning
or unjamming of machines or equipment and making adjustments or tool changes,
where the employee may be exposed to the unexpected energization or startup of the
equipment or release of hazardous energy.” (Emphasis Added)

Section 1910.147(c)(1) further states the Energy Control Program: “The employer shall
establish a program consisting of energy control procedures, employee training and
periodic inspections to ensure that before any employee performs any servicing or
maintenance on a machine or equipment where the unexpected energizing, startup or
release of stored energy could occur and cause injury, the machine or equipment shall
be isolated from the energy source and rendered inoperative.” (Emphasis Added)

OSHA requires notification from an employer whenever any of the following four
conditions are met; an employee is killed on the job or suffers a work-related
hospitalization, amputation, or loss of an eye. The injury to Hutchinson resulted in an
amputation; therefore United Dairy was required to notify the OSHA field office in
Charleston, WV within 24 hours of the incident.

On January 31, 2017, OSHA conducted an investigation of the incident which caused the
amputation injury to Hutchinson. Asa result of the investigation, OSHA issued citation
ID 02001 to the United Dairy facility on March 29, 2017, for a repeat violation of Section
1910.147(c)(4)(i) — “Procedures shall be developed, documented and utilized for the
control of potentially hazardous energy when employees are engaged in the activities
covered by this section.” The fine for this repeat violation was $63,375.00 and is
currently being contested.

On October 11, 2016, OSHA conducted an investigation of an incident which resulted in
the hospitalization of an employee due toa work place injury. As a result of this
investigation, OSHA issued citation ID 01001 to the United Dairy facility on November
28, 2016 for a serious violation of Section 1910.147(c)(4)(i) — “Procedures shall be
developed, documented and utilized for the control of potentially hazardous energy
when employees are engaged in the activities covered by this section.” The fine for this
serious violation was $8,908.00 and concluded with an Informal Settlement of $6,954.00

As a result of the October 11, 2016 investigation, which occurred prior to the injury to
Hutchinson, and subsequent serious violation citations issued on November 28, 2016,
———____—__Gase 2:19-cv-00060 Document 1-1 Filed 01/24/19 Page 14 of 29 PagelD #: 21

20.

21.

22.

John

United Dairy knew the energy isolation procedures at the Charleston WV facility were
deficient, lacking or non-existent and in spite of this knowledge, permitted the
unreasonably dangerous and unsafe working condition to exist which caused the injury
to Hutchinson.

On information and belief, United Dairy failed to properly train Hutchinson in the
appropriate energy isolation procedures to safely clear the jammed milk crates and
deprived Hutchinson and other employees the protection afforded by that training. This
failure was a cause the injury to Hutchinson.

The failure of United Dairy to develop appropriate procedures for the control of
hazardous energy, provide employee training on the use of those procedures and
conduct procedure verification inspections for the unjamming of the drag chain
conveyor, in accordance with OSHA 29 CFR, Subpart J, § 1910.147 — The Control of
Hazardous Energy (Lockout/Tagout), created an unreasonably dangerous and unsafe
working condition to exist which caused the injury to Hutchinson.

The citations issued by OSHA to United Dairy on November 28, 2016 and March 29,
2017 for the violation of Section 1910.147(c)(4){i) — “Procedures shall be developed,
documented and utilized for the control of potentially hazardous energy when
employees are engaged in the activities covered by this section” are directly related to
the unreasonably dangerous and unsafe working condition which caused the injury to
Hutchinson.

esas

. Green II, PE
 

~Case 2°-19-cv-00060 Document 1-1 Filed 01/24/19 Page 15 of 29 PagelD #: 22

THEEXPERTS

Robson Forensic

JOHN G. GREEN Il, P.E.
Mechanical Engineer - Industrial Machinery Expert

Experienced in the specification, Installation, start-up, testing, operation, maintenance,
demolition, and facilities management of process plant systems and associated equipment,
diagnosing equipment faults, conducting root cause failure analysis, construction management,
OSHA Standards CFR 29 — 1910 for General Industry and 1926 for Construction, MSHA Certified
Surface Miner.

ENGINEERING AND TECHNICAL EXPERIENCE

e Experience with the operation, maintenance, demolition, and facility management of various
manufacturing processes and industrial equipment including large gas and steam
turbine\generator sets and process steam turbines; centrifugal, horizontal, vertical, and
piston style pumps; high speed rotary and piston compressors, centrifugal and axial fans;
induction and synchronous AC motors; variable speed DC Motors and AC Variable Speed
Drives (VFD); spur, bevel, helical, and worm type gearboxes; material handling belt, screw,
and pneumatic conveyors, gantry, overhead and mobile cranes; coal! crushers and
pulverizers; supercritical once through and subcritical drum type boilers; she!l and tube,
plate and tube, and plate fin type heat exchangers, mechanical and natural draft cooling
towers; electric arc, heat treatment, reheat and blast furnaces; slab and billet casters; various
hot and cold rolling mills, including two and four high mills, sendzimir rolling mills; stationary
(vat) pickling, grit blasting, and steel conditioning chipping, grinding, and scarfing methods
to remove surface scale and imperfections; and various shaping, shearing, and straightening
machines used in metal (steel) industries.

« Knowledge of Power Piping Code ANSI/ASME B31.1, ASME Section | — Power Boilers, ASME
Section Vill — Pressure Vessels, ASME, ANSI, API, NFPA and NSC Standards and
Guidelines, as they relate to industrial equipment safequarding and process plant (industrial)
facilities and construction site safety.

e Application of the ANSI, ASME, and OSHA Standards for both General Industry and
Construction related to confined spaces, fall protection, equipment guarding, asbestos and
lead abatement, multi-employer workplace, personal protective equipment, electrical
equipment, hand tools, crane operations, hazardous materials and communications, hazard
analysis and risk management, scaffolding, walking/working surfaces, and Lock Out Tag
Out.

e Responsible for the specification development, design review, and technical/economic
evaluation of site projects involving all types of rotating equipment, material (coal) handling,
and fire protection systems.

e Investigate process machinery failures, involving the analysis of laboratory data, the review
of design specifications, purchasing documents, Operating/Maintenance Manuals, rebuild
requirements and repair history to determine the "root cause” problem, and develop
solutions to prevent re-occurrences.

11/15/18 1 www.robsonforensic.com
 

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THE EXPERTS

Robson Forensic

JOHN G. GREEN Il, P.E.
Mechanical Engineer - Industrial Machinery Expert

e Developed appropriate operation and maintenance strategies for process equipment using
the Reliability Centered Maintenance process and related concepts.

© Well versed In all Predictive Maintenance Technologies, especially proficient with using a
variety of vibration analysis equipment and the interpretation of vibration data for the
diagnosis of machinery faults, critical speeds, and natural frequencies.

SUPERVISION AND MANAGERIAL EXPERIENCE

e Maintenance Manager responsible for all mechanical and electrical maintenance for the site
including budgets and expenditures as well as the coordination of the Unit Outage activities
with the Station Project Manager.

e Station Project Manager and Outage Manager responsible for all on-site construction
activities, craft labor coordination and contractor services activities, including all planning
and scheduling activities for Unit Outages ($30M to $50M) as well as the installation of all
capital projects ($5M to $40M) requiring contracted labor support. This also includes the
involvement with the largest EPC contract ($730M) in the Station's history. As Project/
Outage Manager was the owner's interface with the imbedded maintenance contractor on
site.

* Supervised craft personnel and other professionals in the installation, inspection,
maintenance, and troubleshooting of process equipment, including pumps, fans, motors,
turbines, compressors, and generators.

PLANNING AND DEVELOPMENT EXPERIENCE

e Prepared detailed engineering studies, estimated job costs, developed equipment and
construction specifications, and selected vendors for capital projects, planned overhauls

and maintenance repair activities.

e Developed and implemented new equipment training programs for operations and
maintenance personnel.

11/15/18 2 www. robsonforensic.com
Case 2:190-cv-00

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THEEXPERTS

Robson Forensic

JOHN G. GREEN Ii, P.E.
Mechanical Engineer - Industrial Machinery Expert

PROFESSIONAL EXPERIENCE

2015to Robson Forensic, Inc.

present Associate
Provide technical investigations, analysis, reports, and testimony toward the resolution
of commercial and personal injury litigation involving all types of industrial process
systems and associated equipment failures.

1986 to NRG Energy Services - Homer City Generation, Homer City PA

2015 (formerly EME, GPU\Genco, Pennsylvania Electric Company)
Outage Manager — Station 2013-2015
Maintenance Manager — Station 2012-2013
Project Manager — Unit 1&2 Scrubbers 2011-2012
Project Manager — Station 2008-2011
Engineer Senior | — Station (Rotating Equipment) 1986-2008

1984to Enduro Stainless Inc., Massillon, OH, (formerly Enduro Div. of Republic Stee! Corp.)

1986 Supervisor —- Mechanical Department
Provided engineering support services and supervision to various production areas
such as 2 and 4 high cold rolling mills, sendzimir mills and heat treatment furnaces.

4980 to Republic Steel Corporation, Canton, OH

1984 Technical Associate - Mechanical Department

Provided engineering support services and supervision to various production areas such
as electric arc furnaces, slab and billet casters, bar and slab mills, heat treatment furnaces,
grinding and conditioning equipment and various straightening and shaping equipment.

PROFESSIONAL CREDENTIALS

Professional Engineer: NCEES, Alabama, Florida, illInois, Indiana, Kentucky, Maryland,
Michigan, Missouri, New Jersey, New York, North Carolina, Ohio, Oklahoma,
Pennsylvania, West Virglnia, Wisconsin

EDUCATION

11/15/18

Bachelor of Science, Mechanical Engineering Lafayette College, Easton, PA, 1979

3 www.robsonforensic.com
 

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THEEXPERTS =

Robson Forensic

JOHN G. GREEN II, P.E.
Mechanical Engineer - Industrial Machinery Expert

CONTINUING EDUCATION AND TRAINING

11/15/18

Lockout Permits: Driving Accountability When Procedures are not Enough, Master
Lock Webinar, October 2018

How to Implement a High Energy Piping (HEP) Program to Prevent Catastrophic
Damages and Minimize Unplanned Outages, POWER, July 2018

Behavior-Based Safety: The Controversy Continues, CORITY Webinar, May 2018

Principles of Scaffolding, OSHA 3085, National Resource Center for OSHA Training,
May 2018

Calibration: Process Control Meets Reliability, POWER, April 2018

Optimizing Level Control for Maximum Reliability and Efficiency in Combined Cycle
and Coal Plants, POWER, April 2018

11 Tips for Implementing a Contractor Management System, BROWZ Webinar,
April 2018

Condenser Tube Cleaning: Essential for Reliable Power Generation, POWER,
April 2018

Rapid Generator De-Gassing: Improving Personnel Safety in Power Plants, POWER,
March 2018

U.S. Department of Labor Mine Safety and Health Administration (MSHA) Surface
Miner Refresher Course, Tri-State Safety Training, February 2018

Finding and Closing the Gaps in Your Lockout/Tagout Program, BRADY, February
2018

Raising the Bar on Contract Safety: Beyond Prequalification, Veriforce Webinar,
February 2018

Construction Arbitration: An Introduction — Beginner, RedVector, February 2018

Making the Case for Contract Management, BROWZ Webinar, January 2018

Licensure Under Attack, National Society of Professional Engineers, January 2018

Ethical Decision Making for Engineers #2, RedVector, November 2017

Ethics for the Practicing Engineer — An Introduction, RedVector, November 2017

Avoid the Three Main Failure Modes of Electrical Power Critical Assets, Power and
Emerson, August 2017

Fall Hazard Awareness for the Construction Industry, OSHA #7405, West Virginia
University National Resource Center, May 2017

Power and Sure ID Webinar
Giving Insiders Access: Make Sure Front and Back Doors are Locked
March 2017

U.S. Department of Labor, Mine Safety and Health Administration, Uniontown, PA
MSHA Surface Miner 8 Hour Refresher Training
January 2017

Health and Safety Magazine/Browz Webinar
The ‘Why’ of Contractor Management
January 2017

4 www. robsonforensic.com
Case 2:190-cv.0

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THE EXPERTS

Robson Forensic

11/15/18

JOHN G, GREEN 11, PE.
Mechanical Engineer - Industrial Machinery Expert

National Safety Council Congress and Expo, Anaheim, CA, October 2016
Make Building a Safer Workplace a Reality
Executive Forum: The Art and (Neuro)science of Safety
NEPA 70E- Educating Parties on Shared Responsibilities: Owner-Contractor
Human Performance: Adding the Human Element in Risk Assessment
Certification Exams: Study Tools and Techniques
Keynote: "The Human Side of Injury Prevention"
OSHA's Top 10 Cited Violations
You Can't Hand Over Your Safety Responsibllity!
OSHA's "Most Interesting": Four Cases Presented by the Lead Investigator
Keynote: "Who Killed Lindsey's Father?”
Preventing Slips, Trips and Falls
ASME Power and Energy/ICONE Conference, Charlotte, NC
ICONE Keynote Address
Regulatory, Codes, and Standards Compliance
Operating & Maintenance Committee Meeting
Generator Operations, Maintenance, and Trends
Power Plenary Session - Advances in Steam Turbine & Generators
Steam Turbine Component Design Analysis and Performance
Power Plant Pumping Systems Optimization — Tutorial
Power Plant Pumping Systems Optimization - Panel Session
Power Plenary Session - Advances in USC & AUSC Boilers
Optimizing Power Plant Efficiency and Flexibility
Plant Operation and Maintenance Challenges and Solution (Session Chalr)
Advances In Plant Dispatching, Scheduling, and Decision Making
June 2016
DiVal Safety Summit, Niagara, NY
June 2016
Health and Safety Magazine Webinar
Lockout Tagout, Arc Flash and Hazard Communication: What Actions to Take Now
in Your Programs, June 2016
West Virginia University Safety and Health Extension, Morgantown, WV
OSHA #7405 Fall Hazard Awareness for the Construction Industry
May 2016
Meritas Capability Webinar
The Benefit of Becoming an OSHA Whisperer: Speaking the Language of Regulators
February 2016
Power Magazine Webinar
Navigating Coal-Fired Power Plant Fire and Safety Standards
September 2015
Titan Continuing Education
Construction Claims, August 2015
Titan Continuing Education
OSHA - Fatal Facts: Fatalities Caused by Improper Work Practices
August 2015

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THEEXPERTS

JOHN G. GREEN I, P.E.
Mechanical Engineer - Industrial Machinery Expert

U.S. Department of Labor, Mine Safety and Health Administration, Homer City, PA
MSHA Surface Coal Miner 8 Hour Refresher Training
July 2015
University of Pittsburgh School of Social Work, Harrison City, PA
Recognizing and Reporting Child Abuse: Mandated and Permissive Reporting in
Pennsylvania, Meets ACT 312014 requirements, May 2015
ASME Power Division Conference, Baltimore, MD
Operating & Maintenance Subcommittee Member and Student Paper Judge
July 2014
U.S. Department of Labor, Mine Safety and Health Administration, Homer City, PA
MSHA Surface Coal Miner 8 Hour Refresher Training
June 2014
IUP Division of Emergency Services Training, Indiana, PA
HAZWOPER Operations Level Refresher as defined by 29 CFR 1910.120
June 2014
Energy-Tech Magazine Webinar
Performance & Reliability Improvement of Power Generating Assets
December 2013
Titan Continuing Education
Centrifugal Pumps: Basic Knowledge & Concepts
September 2013
Titan Continuing Education
OSHA ~ Asbestos Standard for Construction Industry
September 2013
Titan Continuing Education
Cost Engineering
September 2013
U.S. Department of Labor, Mine Safety and Health Administration, Homer City, PA
MSHA Surface Coal Miner 8 Hour Refresher Training
July 2013
ASME Power Division Conference, Boston, MA
Operating & Maintenance Subcommittee Member
July 2013
IUP Division of Emergency Services Training, Indiana, PA
HAZWOPER Operations Level Refresher as defined by 29 CFR 1910.120
June 2013
U.S, Department of Labor, Mine Safety and Health Administration, Homer City, PA
MSHA Surface Coal Miner 8 Hour Refresher Training
July 2012
IUP Division of Emergency Services Training, Indiana, PA
HAZWOPER Operations Level Refresher as defined by 29 CFR 1910.120
June 2012
ASME Assessment Based Course
ASME Standards
April 2012

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THEEXPERTS

Robson Forensic

JOHN G. GREEN II, P.E.
Mechanical Engineer - Industrial Machinery Expert

Miller Training Programs, Homer City, PA
Fall Prevention & Protection Competent Person Refresher Training
March 2012
IUP Division of Emergency Services Training, Indiana, PA
HAZWOPER Operations Level Refresher as defined by 29 CFR 1910.120
August 2011
U.S. Department of Labor, Mine Safety and Health Administration, Homer City, PA
MSHA Surface Coal Miner 8 Hour Refresher Training
July 2011
ASME Power Division Conference, Denver, CO
Operating & Maintenance Subcommittee Member
July 2011
Miller Training Programs, Homer City, PA
Fall Prevention & Protection Competent Person Refresher Training
October 2010
iUP Division of Emergency Services Training, Indiana, PA
HAZWOPER Operations Level Refresher as defined by 29 CFR 1910.120
August 2010 ,
U.S. Department of Labor, Mine Safety and Health Administration, Homer City, PA
MSHA Surface Coal Miner 24 Hour New Miner Training
July 2010
ASME Power Division Conference, Chicago, IL
Operating & Maintenance Subcommittee Member
July 2010
IUP Division of Emergency Services Training, Indiana, PA
HAZWOPER Operations Level Refresher as defined by 29 CFR 1910.120
August 2009
Miller Training Programs, Homer City, PA
Fall Prevention & Protection Competent Person Training
June 2009
Utility Pump Troubleshooting Symposium, Philadelphla, PA
Dr. Elemer Makay, ERCO
March 1995
Vibration Institute 16" Annual Meeting, Williamsburg, VA
Vibration Institute
June 1992
Practical Solutions to Machinery and Maintenance Vibration Problems, Pittsburgh, PA
Update International, Inc.
July 1991
Machinery Failure Analysis and Prevention, Boca Raton, FL
Center for Professional Advancement
April 1990
Applied Pump Technology, Brunswick, NJ
Center for Professional Advancement
July 1988

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THEEXPERTS

Robson Forensic

JOHN G. GREEN Ii, P.E.
Mechanical Engineer - Industrial Machinery Expert

Ultrasonic Examination - Level ll, Johnstown, PA
Gilbert Associates
July 1987

Rotor Dynamics and Advanced Balancing, Syrla, VA
Vibration Institute
May 1987

Vibration Analysis |, New Orleans, LA
Vibration Institute
August 1986

Statistical Process Control, Canton, OH
Republic Steel Corporation,
March 1985

Basic Balancing and Diagnostics, Canton, OH
IRD Mechanalysis, Inc.
February 1982

PROFESSIONAL MEMBERSHIPS

ASME Power Division (Active)
Operating & Maintenance Subcommittee Member since 2010
Vibration Institute, Western Pennsylvania Chapter (Inactive)
Founding member
Program Director (former)
Chairman (former)

SPEAKING ENGAGEMENTS

ASME Power Division Conference, Denver, co
Operating and Maintenance Subcommittee
Predictive Maintenance Panel Discussion Member
July 2011

SMRP 5" Annual Conference, Pittsburgh, PA
Society of Maintenance and Reliability Professionals
Streamlined RCM Process at the Homer City Power Station
October 1997

EPRI Streamlined RCM Workshop, Columbus, OH
Electric Power Research Institute
Streamlined RCM Process at the Homer City Power Station
May 1997

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Case.2-19-cyv-00060 Document 1-1 Filed 01/24/19 Page 23 of 29 PagelD #: 30

THEEXPERTS

Robson Forensic

JOHN G. GREEN I, P.E.
Mechanical Engineer - Industrial Machinery Expert

EPRI Plant Maintenance Optimization Conference, Eddystone, NJ

Electric Power Research Institute
Reliability Centered Maintenance for a Coal Mill Pulverizer

December 1996
EPRI 6" Predictive Maintenance Conference, Philadelphia, PA

Electric Power Research Institute
Bearing Failure Analysis of a Large Axial Flow Fan

May 1994

PUBLICATIONS

“Detection and Analysis of a Main Bearing Failure in an Induced Draft Fan,” Vibrations,
Vol. 9, No. 1, March 1993.

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ee ASSL 9=-CV-00060 Document 1-1 Filed 01/24/19 Page 24 of 29 PagelD #: 31

 

CIVIL CASE INFORMATION STATEMENT Fit Ep
CIVIL CASES Lbig lke o
IN THE CIRCUIT COURT OF KANAWHA COUNTY, WES WA REN a! A 10: 20
AoE Oi,
rciTE
\. CASE STYLE:
Plaintiff(s)

JAYSON HUTCHINSON,

 

 

VS. CASE NO:
HONORABLE:
Days to
Defendant(s) Answer Type of Service
UNITED DAIRY, INC. 30 days WV Secretary of State
George Wood

300 North Fifth Street
Post Office Box 280
Martins Ferry, OH 43935

Original and 6 copies of Complaint furnished herewith.
Sem —Gy¥-OO060—
Document 1-1

Filed 01/24/19 Page 25 of 29 PagelD #: 32

 

DEFENDANT: UNITED DAIRY, INC.

PLAINTIFF:  JAYSON HUTCHINSON CASE NUMBER:

 

 

 

TYPE OF CASE:

 

 

 

 

 

 

 

TORTS OTHER CIVIL
© Asbestos O Adoption C Appeal from Magistrate Court
D Professional Malpractice O Contract Petition for Modification of
Magistrate Sentence
m@ Personal Injury [) Real Property O Miscellaneous Civil
( Product Liability ( Menta! Health 4 Other
© Other Tort OC Appeal of Administrative (1 Fraud or Conversion
Agency

 

 

 

JURY DEMAND: @ Yes 0 No
CASE WILL BE READY FOR TRIAL BY (MONTH/YEAR): 02/20

 

 

DO YOU OR ANY OF YOUR CLIENTS OR WITNESSES IN THIS CASE REQUIRE SPECIAL
ACCOMMODATIONS DUE TO A DISABILITY OR AGE? © YES O NO

IF YES, PLEASE SPECIFY:

() Wheelchair accessible hearing room and other facilities

© Interpreter or other auxiliary aid for the hearing impaired

CO Reader or other auxiliary aid for the visually impaired

© Spokesperson or other auxiliary aid for the speech impaired

BH Other: Unknown at this time

 

Firm:

ROBERT D. CLINE, JR. (W. Va. State Bar No. 755)
ROBERT A CAMPBELL (W. Va. State Bar. No. 6052)

R. CHAD DUFFIELD (W. Va. State Bar No. 9583) Representing:
FARMER, CLINE & CAMPBELL, PLLC @ Plaintiff £7 Defendant

Address: P.O. Box 3842 (7 Cross-Complainant

Charleston, WV_25338 OCross-Defendant

Telephone: (304) 346-5990 O Pro Se

Dated:

December 21, 2018

 

Signature: fe h (YZ / zd

wn NAIA

 

 
Case 2:19-cv-00060 Document 1-1

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Bivd E.
Charleston, WV 25305

KANAWHA COUNTY CIRCUIT COURT
Kanawha County Courthouse

111 Court Street

Charleston, WV 25301-2500

Control! Number: 232063

Defendant: UNITED DAIRY, INC.
300 NORTH FIFTH STREET
PO BOX 280

MARTINS FERRY, OH 43935 US

| am enclosing:

1 summons and complaint

Filed 01/24/19 Page 26 of 29 PagelD #: 33

FILED
118 DEC 28 A Gy?

CATHY S. GATSON, CLER
. NAWHA COURTY CIRCUIT COURT

   

Secretary of State
State of West Virginia
Phone: 304-558-6000
' 886-767-8683
’ Visit us online:
WWW.WVSOS.COm

Agent: GEORGE WOOD
County: Kanawha
Civil Action: 18-C-1553 |
Certified Number: 92148901125134 100002453098
Service Date: 12/26/2018

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, | have accepted
service of process in the name and on behalf of your corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your corporation as your attorney-in-fact. Please address any questions about this
document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State's office.

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Sincerely,

Poe Warner

Mac Warner
Secretary of State

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Case 2:19-cv-00060 Document 1-1 Filed 01/24/19 Page 27 of 29 PagelD #: 34
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~ 2

|
Mee » SUMMONS |
|
IN THE CIRCUIT couRtor LaNTAWHA COUNTY, WEST VIRGINIA

JAYSON HUTCHINSON, mg vec 28 A * us

\! Ri
Plaintiff, ce my Saunt HET COURT
v. . CIVIL ACTION NO.-18-C-1553
HONORABLE: LOUIS H. BLOOM
UNITED DAIRY, INC.,
Defendant. = a
TO: United Dairy, Inc. Hi 5 . 2
George Wood BES ony 7.
300 North Fifth Street Go 8
Post Office Box 280 <3 U ue
Martins Ferry, OH 43935 as ® ey 3
>H4 pe
ek y Slimmoned

IN THE NAME OF THE STATE OF WEST VIRGINIA, you aes herb
and required to serve upon R. Chad Duffield, Plaintiffs attorney, whose address is Post
Office Box 3842, Charleston, West Virginia 25338, an answer, including any related
counterclaim you may have, to the Complaint filed against you in the above-styled civil
action, a true a of which is herewith delivered to you. You are required to, serve your

answer to the Complaint within thirty (30) days after service of this Summons upon you
{

exclusive of the day of service. If you fail to do so, judgment by default will be taken

against you for the relief demanded in the Complaint, and you will be thereafter barred

from asserting in another action any claim you may have which must be asserted by

counterclaim in the above-styled civil action.

->)\-\
Dated: __[d-2 x Cathy S. Gatson, Clerk

Clerk of Court
By: Ss Dro
Case 2:19-cv-00060

 

Document 1-1 Filed 01/24/19 Page 28-cPheg.RagelDt35

Civil Action Number 18-C-1553
Package Identification Code 92148901 125134100002453098 eis be
Signature Downloaded 12/31/2018 6:02:58 AM
Defendant Name UNITED DAIRY, INC. 2019 JAN-2 AM 9: 43
cafes eos ee
UNITED STATES KANAWHA COUNTY CiREUTT COURT
POSTAL SERVICE

Date Produced: 12/31/2018

WEST VIRGINIA SECRETARY OF STATE:

The following is the delivery information for Certified Mail™/RRE item number 9214 8901 1251 3410
0002 4530 98. Our records indicate that this item was delivered on 12/28/2018 at 08:23 a.m. in
MARTINS FERRY, OH 43935, The scanned image of the recipient information is provided below.

Signature of Recipient :

Address of Recipient :

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co > (es eet
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Thank you for selecting the Postal Service for your mailing needs. {f you require additional assistance,
please contact your local post office or Postal Service representative.

Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United States Postal
Service. Itis solely for customer use,

Customer Reference Number:

245309
Case 2:19-cv-00060

Civil Action Number
Package Identification Code
Signature Downloaded

Defendant Name

Document 1-1 Filed 01/24/19

18-C-1553

92148901 125134 100002453098
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UNITED DAIRY, INC.

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2019 JAN-2 AM 9: 43

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COURT

CATHY 5. Ars 8. CLE
Bad UNITED STATES KANAWHA COUNTY CIRCUIT

POSTAL SERVICE

Date Produced: 12/31/2018
WEST VIRGINIA SECRETARY OF STATE:
The following is the delivery information for Certified Mail™/RRE ilem number 9214 8901 1251 3410

0002 4530 98. Our records indicate that this item was delivered on 12/28/2018 at 08-23 a.m. in
MARTINS FERRY, OH 43935. The scanned image of the recipient information ls provided below.

Signature of Recipient : Perron lf ff.

Thonn Wa (drum

Address of Recipient :

C9 > (ute ne
ee BL oo
Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,

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Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United States Postal
Service. It is solely for customer usa.

Customer Reference Number: 245309
